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 4 Attorney for Defendant
     ALEKSANDR LASTOVSKIY
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 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10 UNITED STATES OF AMERICA,                                Case No. 2:12-cr-00322-MCE

11                Plaintiffs,                               STIPULATION AND ORDER

12 vs.
13 ALEKSANDR LASTOVSKIY, et al,
14                Defendants.
                                          /
15
16         It is hereby stipulated and agreed-to by the United States of America
17 through HEIKO COPPOLA, Assistant United States Attorney, defendant ALEKSANDR
18 LASTOVSKIY, by and through his attorney, KENNY N. GIFFARD, and defendant
19 TATYANA SHEVETS, by and through her attorney, JOSEPH A. WELCH, that the status
20 conference set for Thursday, September 24, 2015, be continued to a status conference on
21 Thursday, December 3, 2015, at 9:00 a.m. This continuance is being requested because defense
22 counsel needs time to prepare for trial, to review discovery, and to interview witnesses. The
23 discovery already presented to the defendant in this case is voluminous and comprises numerous
24 cd’s which need to be translated, and several thousand pages of investigative reports.
25 _____Most recently, the government had provided this defendant with a number
26 of cd’s and partially translated recordings of purported contacts between the defendant
27 and others wherein activity related to the charged offenses was then occurring. Counsel
28 for the defendant had to have those translated and the contents therein investigated in

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 1 preparation for trial. This also included an investigation done of the associated activities
 2 of the government’s primary witness against the defendant.
 3         Furthermore, Assistant United States Attorney Heiko Coppola will be out of
 4 the Sacramento area on official business on the date of the September 24, 2015, hearing.
 5         Lastly, the parties stipulate and agree that the interests of justice served by
 6 granting this continuance outweigh the best interests of the public and the defendant in a
 7 speedy trial. (18 U.S.C. §3161(h)(A)).
 8         Speedy trial time is to be excluded from the date of this order through the
 9 date of the status conference set for December 3, 2015, pursuant to 18 U.S.C. §
10 3161(h)(7)(B)(iv) (reasonable time to prepare) (Local Code T4).
11 Dated: September 23, 2015
12
     Dated: September 23, 2015                            Respectfully submitted,
13
                                                          /s/ Kenny N. Giffard
14                                                        KENNY N. GIFFARD
                                                          Attorney for Defendant
15                                                        ALEXANDR LASTOVSKIY

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17
                                                          /s/ Kenny N. Giffard for
18                                                        JOSEPH WELCH
                                                          Attorney for Defendant
19                                                        TATYANA SHEVTS

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                                                          /s/ Kenny N. Giffard for
23                                                        HEIKO P. COPPOLA
                                                          Assistant U.S. Attorney
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 1                                                  ORDER
 2          Based upon the stipulation of the parties and good cause appearing therefrom, the Court hereby

 3 finds that the failure to grant a continuance in this case would deny defense counsel reasonable time
 4 necessary for effective preparation, taking into account the exercise of due diligence. The Court
 5 specifically finds that the ends of justice served by the granting of such continuance outweigh the
 6 interests of the public and the defendant in a speedy trial. Based upon these findings and pursuant to the
 7 stipulation of the parties, the Court hereby adopts the stipulation of the parties in its entirety as its order.
 8 Time is excluded from computation of time within which the trial of this matter must be commenced
 9 beginning from the date of the stipulation through and including December 3, 2015, pursuant to 18
10 U.S.C. § 3161(h)(7)(A) and (B)(iv) (reasonable time for defense counsel to prepare and Local Code T4.)
11 A new status conference date is hereby set for December 3, 2015, at 9:00 a.m.
12          IT IS SO ORDERED.

13 Dated: September 24, 2015
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